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              ATTACHMENT A
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                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                      Boston Area Office
                                                                                  John F. Kennedy Federal Building
                                                                                                Government Center
                                                                                                        Room 475
                                                                                           Boston, MA 02203-0506
                                                                                                   (617) 565-3200
                                                                                              TTY (617) 565-3204
                                                                                              FAX (617) 565-3196

                          NOTICE OF LAWSUIT AND SETTLEMENT

This notice is being posted pursuant to a Consent Decree entered in the matter of Equal Employment
Opportunity Commission v. Atlantic Capes Fisheries, Inc. and BJ’s Service Co, Inc., C.A. No. 1:17-cv-
11860, filed with the United States federal court for the district of Massachusetts.

Federal law prohibits discrimination against any employees or applicants for employment because of the
individual’s Race, Color, Religion, Sex, National Origin, Age (40 and over), Disability and or Genetic
Information, with respect to hiring, promotion, firing, compensation, accommodation or other terms,
conditions or privileges of employment. Federal Law specifically prohibits sex harassment by
supervisors, management, co-workers, or any employer official. Federal Law also prohibits retaliation
against any employee who has complained of discrimination, opposed discrimination, filed a charge of
discrimination or who gives testimony or assistance concerning the investigation or litigation of a charge
of discrimination, including a complaint or charge of sex harassment.

Atlantic Capes Fisheries supports and will comply with such federal law in all respects and will not take
any action against employees because they have exercised their rights under the law.

Atlantic Capes Fisheries has an equal employment opportunity policy, which includes an anti-sex
harassment policy, and will ensure that all supervisory employees and other employees abide by the
requirements of that policy and that employees will not be discriminated against on the basis of their
Race, Color, Religion, Sex, National Origin, Age (40 and over), Disability and or Genetic Information.

Atlantic Capes Fisheries will, pursuant to the Consent Decree, provide anti-discrimination training to
employees, issue new policies regarding harassment and discrimination and report all complaints to
EEOC.

Should you have any questions or complaints of discrimination, you may contact:

                        United States Equal Employment Opportunity Commission
                        Boston Area Office
                        JFK Federal Building, Room 475
                        15 Sudbury Street
                        Boston, MA 02203
                        (617) 565-3200
                        (800) 669-4000
                        Website: www.eeoc.gov

      This is an official notice and must remain posted for four [4] years from the date of posting
and may not be altered, defaced or covered by any other material.

        Date: ________________________
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              ATTACHMENT B
                  U.S. EQUAL EMPLOYMENT
        Case 1:17-cv-11860-PBS          OPPORTUNITY
                                 Document            COMMISSION
                                          157 Filed 01/29/19 Page 34 of 36
                                            Boston Area Office


                                                                                  John F. Kennedy Federal Building
                                                                                                Government Center
                                                                                                        Room 475
                                                                                           Boston, MA 02203-0506
                                                                                                   (617) 565-3200
                                                                                              TTY (617) 565-3204
                                                                                              FAX (617) 565-3196

                          NOTICE OF LAWSUIT AND SETTLEMENT

This notice is being posted pursuant to a Consent Decree entered in the matter of Equal Employment
Opportunity Commission v. Atlantic Capes Fisheries, Inc. and BJ’s Service Co, Inc., C.A. No. 1:17-cv-
11860, filed with the United States federal court for the district of Massachusetts.

Federal law prohibits discrimination against any employees or applicants for employment because of the
individual’s Race, Color, Religion, Sex, National Origin, Age (40 and over), Disability and or Genetic
Information, with respect to hiring, promotion, firing, compensation, accommodation or other terms,
conditions or privileges of employment. Federal Law specifically prohibits sex harassment by
supervisors, co-workers, management, or any employer official. Federal Law also prohibits retaliation
against any employee who has complained of discrimination, opposed discrimination, filed a charge of
discrimination or who gives testimony or assistance concerning the investigation or litigation of a charge
of discrimination, including a complaint or charge of sex harassment.

BJ’s Service Co. supports and will comply with such federal law in all respects and will not take any
action against employees because they have exercised their rights under the law.

BJ’s Service Co. has an equal employment opportunity policy, which includes an anti-sex harassment
policy, and will ensure that all supervisory employees and other employees abide by the requirements of
that policy and that employees will not be discriminated against on the basis of their Race, Color,
Religion, Sex, National Origin, Age (40 and over), Disability and or Genetic Information.

BJ’s Service Co. will, pursuant to the Consent Decree, provide anti-discrimination training to employees,
issue new policies regarding harassment and discrimination and report all complaints to EEOC.

Should you have any questions or complaints of discrimination, you may contact:

                        United States Equal Employment Opportunity Commission
                        Boston Area Office
                        JFK Federal Building, Room 475
                        15 Sudbury Street
                        Boston, MA 02203
                        (617) 565-3200
                        (800) 669-4000
                        Website: www.eeoc.gov

      This is an official notice and must remain posted for four [4] years from the date of posting
and may not be altered, defaced or covered by any other material.

        Date: ________________________
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              ATTACHMENT C
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                                   RELEASE OF CLAIMS

In consideration for $                  paid to me in connection with the resolution of EEOC, et
al. v. Atlantic Capes Fisheries, Inc. and BJ’s Service Co., Inc., Civil Action No. 1:17-cv-11860-
PJS (filed D. Mass. Sept. 27, 2018), I waive my right to recover for any claims of sex
harassment or retaliation arising under Title VII of the Civil Rights Act of 1964 that I had or
may have had against Atlantic Capes Fisheries, Inc. and/or BJ’s Service Co., Inc. prior to the
date of this release that were included in the claims alleged in EEOC’s complaint in EEOC, et al.
v. Atlantic Capes Fisheries, Inc. and BJ’s Service Co., Inc., Civil Action No. 1:17-cv-11860 (D.
Mass.).



                               DESCARGO DE RECLAMOS

En consideración por $                    pagado a mí en relación con la resolución de EEOC, et
al. v. Atlantic Capes Fisheries, Inc. y BJ’s Service Co., Inc., Acción Civil No. 1:17-cv-11860-
PJS (archivado D. Mass. el 27 de septiembre de 2018), renuncio a mi derecho de recuperar por
cualquier reclamo de acoso sexual y de represalia que surja bajo el Titulo VII de la Ley de
Derechos Civiles de 1964 que tenía contra Atlantic Capes Fisheries, Inc. y/o BJ’s Service Co.,
Inc., antes de la fecha de este descargo que se incluyeron en las demandas alegadas en la queja
de EEOC en EEOC, et al v. Atlantic Capes Fisheries, Inc. y BJ’s Service Co., Inc., Acción Civil
No. 1:17-cv-11860 PJS (D. Mass.).




Date/Fecha:



Signature/Firma:



Print Name/Nombre en letra de molde:
